Case 5:13-cv-15236-JCO-PJK ECF No. 12, PagelD.44 Filed 05/15/14 Page 1 of 1

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ABSTRACT OF JUDGMENT —_ o
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NOTICE "
Pursuant to Title 28, United States Code, Section 3201, this judgment, upon the filin

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in which a notice of tax lien would be filed under paragraphs (1) and (2) of 26 U.S.C. §6323(f), creates Bien on all real
property of the defendant(s) and has priority over all other liens or encumbrances which are perfected later in time. The lien
created by this section is effective, unless satisfied, for a period of 20 years and may be renewed by filing a notice of
renewal. If such notice of renewal is filed before the expiration of the 20 year period to prevent the expiration of the lien and
the court approves the renewal, the lien shall relate back to the date the judgment is filed.

Names and Addresses of Parties against whom
judgments have been obtained

 

Names of Parties in whose favor judgments have
been obtained

 

Michael Johnson a/k/a Michael Anthony
2140 Garfield Street

Ferndale, Michigan 48220-3410

UNITED STATES OF AMERICA
SS#. XXXK-XX-0003

 

 

 

 

 

 

Amount of Judgment Names of Creditors' Attorneys When Docketed
CRAIG S. SCHOENHERR, SR. (P32245) John Corbett O’Meara
$24,967.58 plus costs, Attorney for the United States 13-15236
“interest, and surcharge | 12900 Hall Road, Suite 350 March 28, 2014
if applicable. Sterling Heights, Mi 48313
(586) 726-1000

 

 

 

 

UNITED STATES OF AMERICA, CLERK'S OFFICE

 

UNITED STATES DISTRICT COURT FOR THE
EASTERN. DISTRICT OF MICHIGAN
Ss.

| CERTIFY, That the foregoing is a correct Abstract of the Judgment entered or registered by this Court.

Drafted by and return to:

Craig S. Schoenherr, Sr.

Attorney for the United States

12900 Hall Road, Suite 350

C DAVID J. WEAVER
Sterling Heights, MI 48313 By
(586) 726-1000

Date, MAY | 5 2014 , 2014

, Clerk.
Ko a , Deputy Clerk.

 
